   Case 2:09-cr-00123-MVL-DEK            Document 301         Filed 05/24/11     Page 1 of 12




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA



 UNITED STATES OF AMERICA                                         CRIMINAL ACTION
 VERSUS                                                           NO: 09-123
 CHARLES MOSS AND JERMAINE                                        SECTION: "S"
 SURTAIN


                                   ORDER AND REASONS

       IT IS HEREBY ORDERED that Charles Moss’s Motion for Post-Verdict Judgment of

Acquittal as to Count 12 Pursuant to Rule 29 of the Federal Rules of Criminal Procedure (Doc.

#244) is DENIED.

       IT IS FURTHER ORDERED that Jermaine Surtain’s Motion for Post-Verdict Judgment

of Acquittal as to Counts 1 and 12 Pursuant to Rule 29 of the Federal Rules of Criminal Procedure

(Doc. #245) is DENIED.

                                        BACKGROUND

       On January 10, 2011, David Samuels, Charles Moss and Jermaine Surtain proceeded to trial

on a superseding indictment, in which they were charged with conspiracy to commit mail and wire

fraud (Count 1), two counts of mail fraud (Counts 3 and 4), wire fraud (Count 11), use of fire to

commit obstruction of justice (Count 12), and use of fire to commit mail fraud (Count 13). Samuels

was also charged with one additional count of mail fraud (Count 2) and six additional counts of wire

fraud (Counts 5-10). These counts all arose out of an alleged plot to murder Treyor August to

collect on life insurance policies, and to burn a van allegedly used during the murder to destroy
   Case 2:09-cr-00123-MVL-DEK             Document 301        Filed 05/24/11     Page 2 of 12




evidence and collect on an automobile insurance policy. Moss and Samuels were also charged with

use of fire to commit mail fraud in a homeowners insurance scam in connection with a house fire

that occurred on December 2, 2002 (Count 14). Further, Samuels was charged with making false

statements to a special agent of the Bureau of Alcohol, Tobacco, Firearms and Explosives (Count

15).

       On January 21, 2011, the jury returned a verdict of guilty as to Moss on Counts 1, 12, and

14, and as to Surtain on Counts 1 and 12. The jury acquitted Moss and Surtain on the other counts

of the superseding indictment in which they were charged. Moss filed a motion for judgment of

acquittal pursuant to Rule 29 of the Federal Rules of Criminal Procedure as to Count 12, and Surtain

filed a Rule 29 motion as to Counts 1 and 12. They argue that the evidence adduced at trial is

insufficient to sustain their convictions on these counts.

       Count 1 of the superseding indictment charged Moss and Surtain with conspiring with David

Samuels and others to commit mail and wire fraud by murdering August to collect on life insurance

policies. The testimony at the trial established that August was Samuels’ cousin. In July 2003,

August’s sister, Christina August Rai, shared an apartment with their cousin Maria Samuels and

Surtain. Maria Samuels is David Samuels’ sister, and she was involved in a relationship with

Surtain. Surtain was a drug dealer and always had money in the apartment. August needed money

to support his children. Rai stole $2,300 of Surtain’s money and gave it to August. Surtain believed

that August stole the money and swore that he was going to get revenge on August.

       In 2003, Samuels obtained three insurance policies on August’s life without August’s

knowledge or consent. Samuels named himself, his sister, and his mother as the beneficiaries of the


                                                  2
   Case 2:09-cr-00123-MVL-DEK             Document 301         Filed 05/24/11      Page 3 of 12




life insurance policies. Samuels’ brother, Christopher Samuels, and an acquaintance, Tony Veal,

testified that Samuels asked each of them separately to murder August in exchange for a portion of

the insurance proceeds.

       On April 24, 2004, Moss picked up August in Samuels’ 1992 Chrysler Town and Country

van under the pretense of taking August out for his birthday. Debria Rogers, Surtain’s former

girlfriend, testified that on April 24, 2004, she took Surtain to a club on Tulane Avenue to meet with

some men. After the meeting, she drove Surtain and one of the men to a house where they usually

hung out. The man went into the house and got bullets or a gun and gave them to Surtain. Surtain

shot a gun out of the window. Then Rogers dropped Surtain off at a cousin’s house in the Mid-City

area of New Orleans near Bienville Street.

       At 9:19 p.m. and at 9:37 p.m. on April 24, 2004, telephone calls were placed from a cellular

telephone number associated with Surtain to a cellular telephone number associated with Moss.

Thereafter, Moss and August arrived at 3300 Bienville Street where August was shot in the front

passenger seat of the van. August ran down the street, was shot again, and died at the scene.

       Orlando Brown, Surtain’s cell mate in St. Bernard Parish Prison, testified that he and Surtain

discussed their pending federal cases that each involved insurance policies. Brown testified that

Surtain told him that if all had gone as planned with August’s death, he would be “straight,” which

Brown thought meant that Surtain would be “tooken (sic) care of” financially. Brown also testified

that Surtain told him that he would not be convicted because he was not the primary beneficiary on

the insurance policies.




                                                  3
   Case 2:09-cr-00123-MVL-DEK              Document 301      Filed 05/24/11      Page 4 of 12




       Between April 24, 2004, and May 8, 2004, numerous telephone calls were placed between

numbers associated with Samuels and Moss and between numbers associated with Samuels and

Surtain.

       On May 7, 2004, Samuels moved the van in the driveway of his house to a point further away

from the house claiming that he was going to wash the van the next day. At 9:31 p.m. on May 7,

2004, a call was made from a cellular telephone number associated with Samuels to a cellular

telephone number associated with Surtain. At 9:33 p.m. on May 7, 2004, Moss, who was in

Michigan, called Samuels’ home telephone. Samuels’ ex-wife, Yolanda Fleming answered the

phone and gave it to Samuels. Samuels and Moss spoke for four minutes. Samuels went out. At

1:12 a.m. on May 8, 2004, Samuels called home, awakened Fleming, and asked her if the van was

okay. She replied that it was. At 1:13 a.m. on May 8, 2004, Samuels called Surtain and they spoke

for five minutes. At 1:22 a.m. on May 8, 2004, Samuels called Surtain again and they spoke for five

minutes. Samuels testified that his conversations with Surtain were about obtaining drugs. Just

before 3:00 a.m. on May 8, 2004, Fleming was awakened by the van exploding. The video camera

positioned on the van captured two masked African American males walk around the driver’s side

and rear of the van to the passenger’s side, where they broke the window, poured in accelerant, and

ignited the fire that destroyed the van.




                                                4
     Case 2:09-cr-00123-MVL-DEK            Document 301         Filed 05/24/11       Page 5 of 12




                                             ANALYSIS

A.      Legal standard

        “Rule 29 ... tests only the sufficiency of the evidence introduced at trial to support the crime

charged.” United States v. Hope, 487 F.3d 224, 225 (5th Cir. 2007). Rule 29(a) provides in relevant

part that “the court on the defendant's motion must enter a judgment of acquittal of any offense for

which the evidence is insufficient to sustain a conviction.” When considering a Rule 29 motion, the

court must “consider the evidence, all reasonable inferences drawn from it and all credibility

determinations in the light most favorable to the government and [determine] if a reasonable jury

could find the offense’s essential elements beyond a reasonable doubt.” United States v. Medina,

161 F.3d 867, 872 (5th Cir. 1988). The court assesses “whether a reasonable jury could have

properly concluded, weighing the evidence in a light most deferential to the verdict rendered by the

jury, that all of the elements of the crime charged had been proven beyond a reasonable doubt.”

United States v. Hope, 487 F.3d at 227-28. “[I]f the fact finder was presented with sufficient

evidence to support the verdict reached, that verdict must be upheld.” United States v. Lucio, 428

F.3d 519, 522 (5th Cir. 2005). “The evidence need not exclude every reasonable hypothesis of

innocence or be wholly inconsistent with every conclusion except that of guilt, and the jury is free

to choose among reasonable constructions of the evidence.” United States v. Mitchell, 484 F.3d 762,

768 (5th Cir. 2007) (internal quotation and citation omitted). The “standard of review does not

change if the evidence that sustains the conviction is circumstantial rather than direct.” Id. “But the

evidence presented must allow the jury to find every element of the offense beyond a reasonable




                                                   5
     Case 2:09-cr-00123-MVL-DEK            Document 301         Filed 05/24/11      Page 6 of 12




doubt.” United States v. Uvalle-Patricio, 478 F.3d 699, 701 (5th Cir. 2007) (internal quotation and

citation omitted).

        Circumstantial evidence is evidence from which the jury can draw logical inferences to

determine another fact. See United States v. Jones, 49 F.3d 628, 633 (10th Cir. 1995). However,

“[a] jury will not be allowed to engage in a degree of speculation and conjecture that renders its

finding a guess or mere possibility. Such a finding is infirm because it is not based on the evidence.”

Id. (quotations omitted). Importantly, speculation cannot substitute for proof beyond a reasonable

doubt, and jurors may not convict simply on a belief that the defendant is likely guilty without

supporting evidence. Id.

B.      Count 1 as to Surtain

        Surtain argues that there is no evidence to support his conviction on Count 1 in which he is

charged with conspiracy to commit mail and wire fraud in connection with the scheme to murder

August to collect on the life insurance policies procured by Samuels. Surtain argues that the

government charged one conspiracy where there were at least two, i.e. a conspiracy to commit mail

and wire fraud to collect on the insurance policies on August’s life, and a conspiracy to murder

August for revenge. Surtain argues that the conspiracies had different aims and that there is no

evidence that he was involved in the conspiracy regarding the life insurance policies. Surtain argues

that his motive for murdering August was revenge, not financial, and that there is no evidence that

he knew about the insurance policies before August’s death.




                                                  6
   Case 2:09-cr-00123-MVL-DEK             Document 301         Filed 05/24/11      Page 7 of 12




       The offense of conspiracy is found in 18 U.S.C. § 371 which provides in pertinent part:

                If two or more persons conspire either to commit any offense against
                the United States, or any agency thereof in any manner or for any
                purpose, and one or more of such persons do any act to effect the
                object of the conspiracy, each shall be fined under this title or
                imprisoned not more than five years, or both.

For a jury to convict a defendant of conspiracy to commit mail or wire fraud, the government must

prove beyond a reasonable doubt that: (1) the defendant and at least one other person made an

agreement to commit the crimes of mail or wire fraud; (2) the defendant knew the unlawful purpose

of the agreement and joined in it willfully, that is, with the intent to further the unlawful purpose;

and (3) one of the conspirators during the existence of the conspiracy knowingly committed at least

one of the overt acts described in the indictment, in order to accomplish some object or purpose of

the conspiracy. See United States v. Hernandez-Vera, 2010 WL 5299886 (5th Cir. 10/23/2010)

“Each element may be inferred from circumstantial evidence; that is, the agreement may be inferred

from a ‘concert of action’ and knowledge of a conspiracy and voluntary participation . . . may be

inferred from a collection of circumstances.” Id. (quoting United States v. Watkins, 591 F.3d 780,

788 (5th Cir. 2009)).

       To establish the existence of a conspiracy, the government must prove agreement on one of

the objectives charged in the indictment. United States v. Berger, 224 F.3d 107, 113 (2nd Cir. 2000)

(citing United States v. Papadakis, 510 F.2d 287, 297 (2nd Cir. 1975)). To obtain a conviction, the

government must prove “that each defendant knowingly participated in a scheme to achieve this

particular goal.” Id. (citing United States v. Washington, 48 F.3d 73, 80 (2nd Cir. 1995)). It is not

necessary for the conspirators to agree on the details of the plan, as long as they agreed on the


                                                  7
   Case 2:09-cr-00123-MVL-DEK              Document 301         Filed 05/24/11       Page 8 of 12




essential nature of the plan. Id. (citing United States v. Moldonado-Rivera, 922 F.2d 934, 963 (2nd

Cir. 1990)). Further, “[a] conspirator need not have agreed to commit every crime within the scope

of the conspiracy, so long as it is reasonable to infer that each crime was intended to further the

enterprise’s affairs.” United States v. Hughes, 895 F.2d 1135, 1140 (6th Cir. 1990).

       There can be more than one conspiracy involved in a case, and “[a]cquittal is not

automatically required if the jury finds multiple conspiracies because the jury can plausibly decide

that one of those conspiracies is the single conspiracy charged in the indictment.” Id. at 11 (citing

United States v. Tramunti, 513 F.2d 1087, 1107-08 (2nd Cir. 1975)). However, “acquittal is

required only if the jury finds that the charged conspiracy is not one of the conspiracies that has been

proved.” Id. (citing Tramunti, 513 F.2d at 1107-08). Whether the government has proved a single

conspiracy or multiple conspiracies is a fact question for the jury. Id. (citing United States v.

Johansen, 56 F.3d 347, 350 (2nd Cir. 1995)); United States v. Hughes, 895 F.2d at1140.

       The jury charge given by the court in this case addressed multiple conspiracies:

               [Y]ou must determine whether the conspiracy charged in the
               indictment existed, and, if it did, whether the defendant was a
               member of it. If you find that the conspiracy charged did not exist,
               then you must return a not guilty verdict, even though you find that
               some other conspiracy existed. If you find that a defendant was not
               a member of the conspiracy charged in the indictment, then you must
               find that defendant not guilty, even though that defendant may have
               been a member of some other conspiracy.

       There is sufficient evidence to sustain the jury’s finding that Surtain was involved in the

conspiracy to commit mail or wire fraud by murdering August to collect on the insurance policies

that Samuels procured on August’s life, which is the conspiracy charged in the indictment. The



                                                   8
     Case 2:09-cr-00123-MVL-DEK             Document 301         Filed 05/24/11       Page 9 of 12




evidence showed that Surtain obtained a gun and ammunition on April 24, 2004, and then was

dropped off in the area where August was murdered. Further, the jury could reasonably conclude

that Surtain knew about the insurance policies on August’s life from Brown’s testimony . Therefore,

Surtain’s motion for acquittal on Count 1 is DENIED.

C.      Count 12 as to Moss and Surtain

        Moss and Surtain argue that there is insufficient evidence to maintain their convictions on

Count 12 because the only evidence linking them to the van fire is telephone calls from Samuels to

telephone numbers associated with Moss or Surtain. They argue that this evidence is insufficient

because it requires the jury to make two inferences: (1) that Samuels, Moss, and/or Surtain

participated in the telephone calls, and (2) that in the telephone calls they discussed burning the van

to obstruct justice. Moss and Surtain argue that there is no evidence that they actually participated

in the telephone calls, or evidence regarding the content of the conversations.

        Section 844(h)(1) provides that “whoever uses fire or an explosive to commit any felony

which may be prosecuted in a court of the United States . . . shall, . . . be sentenced to imprisonment

for 10 years.” Pursuant to 18 U.S.C. § 1512(c)(1) , obstruction of justice is a felony that occurs

when one “corruptly alters, destroys, mutilates, or conceals a record, document, or other object or

attempts to do so, with the intent to impair the object’s integrity or availability for use in an official

proceeding.”

        There is no evidence that Moss or Surtain acted as principals in committing the van fire to

obstruct justice. However, they were also charged with aiding and abetting Samuels in connection

with committing the van fire to obstruct justice. Further “one who has been indicted as a principal


                                                    9
  Case 2:09-cr-00123-MVL-DEK              Document 301        Filed 05/24/11      Page 10 of 12




may be convicted on evidence showing that he merely aided and abetted the commission of the

offense.” United States v. Walker, 621 F.2d 163, 166 (5th Cir. 1980) (quotation omitted).

       Aiding and abetting is found in 18 U.S.C. § 2, which provides:

               (a)     Whoever commits an offense against the United States or
                       aids, abets, counsels, commands, induces or procures its
                       commission, is punishable as a principal.

               (b)     Whoever willfully causes an act to be done which if directly
                       performed by him or another would be an offense against the
                       United States, is punishable as a principal.

For the jury to convict the defendant of aiding and abetting a crime, the government must show

conduct on the defendant’s part that amounts to counseling or other assistance in the prohibited

activity. Grimes v. United States , 379 F.2d 791, 795 (5th Cir. 1967) (citations omitted). More

specifically, “to be convicted of aiding and abetting, the defendant must have (1) been associated

with a criminal venture, (2) participated in the venture, and (3) sought by action to make the venture

successful.” James v. Gonzales, 464 F.3d 505, 508 (5th Cir. 2006) (quoting United States v.

Lombardi, 138 F.3d 559, 561 (5th Cir. 1998)). “Association means that the defendant shared in the

criminal intent of the principal.” Id. (quoting U. S. v. Sorrells, 145 F.3d 744, 753 (5th Cir. 1998)).

“Participation means that the defendant engaged in some affirmative conduct designed to aid the

venture.” Id. (quoting Sorrells, 145 F.3d at 753).

       Because the evidence showed that Samuels’ van was used during August’s murder with

which Moss and Surtain were involved, the jury could logically infer that Moss and Surtain shared

Samuels’ intent to destroy the van by fire to obstruct justice by impairing its ability to be used as

evidence in a criminal investigation. The government contends that the telephone calls between


                                                 10
  Case 2:09-cr-00123-MVL-DEK               Document 301         Filed 05/24/11       Page 11 of 12




Moss and Samuels and Surtain and Samuels the night of the fire prove that Moss and Surtain aided

and abetted Samuels in destroying the van by fire to obstruct justice. The government argues that

the jury could infer that they counseled Samuels about burning the van, which were affirmative acts

designed to aid in committing the act.

        In Grimes, 379 F.2d at 795, the United States Court of Appeals for the Fifth Circuit held that

the defendant could not be held liable as an aider and abetter because he received a telephone call

of unknown content from someone who was actually committing the primary offense. Further, in

United States v. Galvan, 693 F.2d 417, 419 (5th Cir. 1982), the United States Court of Appeals for

the Fifth Circuit held that evidence showing telephone calls between alleged conspirators absent

proof of the subject matter of their conversations was insufficient to sustain a conviction. See also

United States v. Williams, 264 F.3d 561, 574 (5th Cir. 2001) (evidence of telephone calls between

the defendants is relevant, but is insufficient for a conviction unless the government can establish

who participated in the calls and the content of their conversation); see also United States v. Powers,

168 F.3d 741, 746-47 (5th Cir. 1999) (evidence showing mere telephone calls between alleged

conspirators without proof of the subject matter of the calls is insufficient for a conviction, but there

was testimony regarding the content of the calls).

        This case is distinguishable from Galvan. Here, Samuels, the person who was called by

Moss and who called Surtain, has been convicted of use of fire to commit obstruction of justice.

Also, there is evidence that establishes the identity of the callers. Fleming testified that she

answered the telephone when Moss called Samuels’ residence at 9:33 p.m. on May 7, 2004, and

handed the telephone to Samuels. Samuels testified that he spoke with Surtain twice on the night


                                                   11
  Case 2:09-cr-00123-MVL-DEK             Document 301         Filed 05/24/11      Page 12 of 12




of May 7, 2004 to May 8, 2004, but that the conversations were about drugs. The jury could have

used the circumstantial evidence to determine the conversations were about the burning of the van,

considering the time of night at which the calls occurred, the sequence of the calls, their proximity

to the van fire, and Surtain’s and Moss’s motive of concealing the evidence of their involvement

with August’s murder contained in the van. The jury may have inferred from this circumstantial

evidence that Surtain and Moss counseled Samuels about the van fire, and thus aided and abetted

him in committing the act. Therefore, Moss’s and Surtain’s motions for acquittal as to Count 12 are

DENIED.

                                         CONCLUSION

       IT IS HEREBY ORDERED that Charles Moss’s Motion for Post-Verdict Judgment of

Acquittal as to Count 12 Pursuant to Rule 29 of the Federal Rules of Criminal Procedure (Doc.

#244) is DENIED.

       IT IS FURTHER ORDERED that Jermaine Surtain’s Motion for Post-Verdict Judgment

of Acquittal as to Counts 1 and 12 Pursuant to Rule 29 of the Federal Rules of Criminal Procedure

(Doc. #245) is DENIED.



                                     24th day of May, 2011.
       New Orleans, Louisiana, this _____



                           ____________________________________
                                MARY ANN VIAL LEMMON
                            UNITED STATES DISTRICT JUDGE




                                                 12
